                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

  KEVIN LEE LANE,                                )
                                                 )
               Plaintiff,                        )
                                                 )
  v.                                             )      No.:         3:20-CV-102-RLJ-DCP
                                                 )
  ANDERSON COUNTY, TENNESSEE                     )
  and                                            )
  SOUTHERN HEALTH PARTNERS,                      )
                                                 )
               Defendants.                       )

                                     JUDGMENT ORDER

        In accordance with the memorandum opinion filed herewith, Defendants’ motions for

 summary judgment [Docs. 38 and 40] are GRANTED, and this pro se prisoner’s civil rights action,

 filed under 42 U.S.C. § 1983, is DISMISSED.

        Because the Court CERTIFIED in the memorandum opinion that any appeal from this

 order would not be taken in good faith, should Plaintiff file a notice of appeal, he is DENIED

 leave to appeal in forma pauperis. See 28 U.S.C. § 1915(a)(3); Fed. R. App. P. 24.

        The Clerk is DIRECTED to close the file.

        IT IS SO ORDERED.

                                                            ENTER:



                                                                     s/ Leon Jordan
                                                               United States District Judge


 ENTERED AS A JUDGMENT
     s/ John Medearis
    CLERK OF COURT



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